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                       AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Michael J. McGillicuddy, a Special Agent with the Federal Bureau of Investigation,

Washington, D.C., being duly sworn, depose and state as follows:


                                    AGENT BACKGROUND


       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”). As such, I

am a “federal law enforcement officer” within the meaning of Federal Rule of Criminal

Procedure 41(a)(2)(C), that is, a Government agent engaged in enforcing the criminal laws and

duly authorized by the Attorney General to request and execute arrest and search warrants

pursuant to Title 18 U.S.C. §§3052 and 3107; and Department of Justice (“DOJ”) Regulations

set forth at Title 28 C.F.R. §§ 0.85 and 60.2(a).

       2.      I have been employed by the FBI for approximately 15 years. During my tenure

with the FBI, I have investigated and participated in the investigations of a variety of criminal

matters. In addition to my regular duties, I am currently also tasked with investigating criminal

activity that occurred in and around the Capitol grounds on January 6, 2021.

                                  PURPOSE OF AFFIDAVIT

       3.      This affidavit is being submitted for the limited purpose of establishing probable

cause to believe that ZACHARY HAYES MARTIN (“MARTIN”) has violated Title 18 U.S.C. §

1752(a)(1) and (2), Restricted Buildings or Grounds, and Title 40 U.S.C. § 5104(e)(2), Unlawful

Activities on Capitol Grounds, as set forth below:

               a. Title 18 U.S.C. § 1752(a)(1) and (2): Restricted Building or Grounds - makes

                   it a crime to (1) knowingly enter or remain in any restricted building or

                   grounds without lawful authority to do so; and (2) knowingly, and with intent

                   to impede or disrupt the orderly conduct of Government business or official
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                  functions, engage in disorderly or disruptive conduct in, or within such

                  proximity to, any restricted building or grounds when, or so that, such

                  conduct, in fact, impedes or disrupts the orderly conduct of Government

                  business or official functions; or attempts or conspires to do so. For purposes

                  of Section 1752 of Title 18, a “restricted building” includes a posted,

                  cordoned off, or otherwise restricted area of a building or grounds where the

                  President or other person protected by the Secret Service, including the Vice

                  President, is or will be temporarily visiting; or any building or grounds so

                  restricted in conjunction with an event designated as a special event of

                  national significance.

              b. Title 40 U.S.C.§ § 5104(e)(2)(D) and (G): Unlawful Activities on Capitol

                  Grounds -    makes it a crime to willfully and knowingly (D) utter loud,

                  threatening, or abusive language, or engage in disorderly or disruptive

                  conduct, at any place in the Grounds or in any of the Capitol Buildings with

                  the intent to impede, disrupt, or disturb the orderly conduct of a session of

                  Congress or either House of Congress, or the orderly conduct in that building

                  of a hearing before, or any deliberations of, a committee of Congress or either

                  House of Congress; and (G) parade, demonstrate, or picket in any of the

                  Capitol Buildings.

       4.     The statements contained in this affidavit are based in part on: information

provided by FBI Special Agents, Task Force Officers, and FBI Analysts, written reports about

this and other investigations that I have received, directly or indirectly, from other law

enforcement agents, information gathered from the results of physical surveillance conducted by
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law enforcement agents, reporting by eye witnesses, independent investigation and analysis by

FBI Special Agents/Analysts and computer forensic professionals, and my experience, training

and background as an FBI Special Agent. Because this affidavit is being submitted for the

limited purpose of securing a criminal complaint, I have not included each and every fact known

to me concerning this investigation. Instead, I have set forth only the facts that I believe are

necessary to establish the necessary foundation for the requested complaint.

                                        JURISDICTION

       5.      This Court has jurisdiction to issue the requested warrant because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), and

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has

jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). As discussed more

fully below, the U.S. Attorney’s Office for the District of Columbia is investigating this case,

which, among other things, involves possible violations of Title 18 U.S.C. § 1752, Restricted

Buildings or Grounds, and Title 40 U.S.C. § 5104(e)(2), Unlawful Activities on Capitol

Grounds. The conduct at issue includes an overt act in the District of Columbia, in the form of

entering a restricted area around the U.S. Capitol on January 6, 2021, as part of a mob that

disrupted the proceedings of Congress, engaged in property damage and theft, and caused

physical injury.

                              BASIS FOR PROBABLE CAUSE


       6.      On January 6, 2021, I was on duty and performing my official duties as a Special

Agent with the FBI’s Washington Field Office (WFO). Specifically, I was deployed to the

vicinity of the U.S. Capitol and tasked with investigating criminal activity in and around the

Capitol grounds. As a Special Agent, I am authorized by law or by a Government agency to
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engage in or supervise the prevention, detention, investigation, or prosecution of a violation of

Federal criminal laws. The Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the Capitol include permanent and temporary security barriers and posts manned by U.S.

Capitol Police. Only authorized people with appropriate identification are allowed access inside

the Capitol. On January 6, 2021, the exterior plaza of the Capitol was also closed to members of

the public.

          7.   On January 6, 2021, a joint session of the U.S. Congress convened at the U.S.

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,

elected members of the U.S. House of Representatives and the U.S. Senate were meeting in

separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

Presidential Election, which had taken place on November 3, 2020. The joint session began at

approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate

adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was

present and presiding, first in the joint session, and then in the Senate chamber.

          8.   As the proceedings continued in both the U.S. House of Representatives and the

U.S. Senate, and with Vice President Pence present and presiding over the Senate, a large crowd

gathered outside the U.S. Capitol. As noted above, temporary and permanent barricades were in

place around the exterior of the Capitol building, and U.S. Capitol Police were present and

attempting to keep the crowd away from the Capitol building and the proceedings underway

inside.

          9.   At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
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however, shortly after 2:00 p.m., individuals in the crowd forced entry into the Capitol, including

by breaking windows and by assaulting members of the U.S. Capitol Police, as others in the

crowd encouraged and assisted those acts.

       10.     Shortly thereafter, at approximately 2:20 p.m., members of the U.S. House of

Representatives and U.S. Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the U.S.

Congress was effectively suspended until shortly after 8:00 p.m. Vice President Pence remained

in the U.S. Capitol from the time he was evacuated from the Senate Chamber until the sessions

resumed.

       11.     During national news coverage of the aforementioned events, video footage

which appeared to be captured on mobile devices of persons present on the scene depicted

evidence of violations of local and federal law, including scores of individuals inside the U.S.

Capitol building without authority to be there.

       12.     The FBI became aware of the involvement of MARTIN after a tip was submitted

by W-1. W-1 stated that he/she had observed public posts on Facebook indicating that MARTIN

was present at the U.S. Capitol during the riots and had “livestreamed” a video of himself in the

U.S. Capitol building on Facebook. Based on my training and experience, I am aware that

Facebook is an online social media platform accessible from both mobile devices and computers.

I am also aware that Facebook is used by individuals around the world to post information and

share content (including text, pictures, and video files, among other information) with “friends”

(i.e., Facebook users that the accountholder has accepted as a member of the accountholder’s

network) and/or the public. I am also aware that Facebook accountholders can “livestream”

video content on Facebook, meaning that they can upload and display video content to other
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Facebook users in real-time, can save this content for future viewing by Facebook users, and can

choose who may view these videos (e.g., the accountholder can make the video “public” to all

Facebook users or can limit the video so it is only visible to certain Facebook users). W-1

subsequently provided the FBI with screenshots he/she had observed circulating on Facebook,

including a screenshot that appears to be from MARTIN’s livestream video (see Images 1 and 2

below).

                         Image 1                              Image 2




       13.    An FBI Special Agent subsequently interviewed W-2, who indicated that he/she

had met MARTIN in person and is friends with MARTIN on Facebook. W-2 stated that, on or
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about January 6, 2021, he/she had watched a portion of a livestream video on MARTIN’s

Facebook account, and recognized MARTIN in the video. Based on this video, W-2 believed

that MARTIN was inside the U.S. Capitol building during the riots. W-2 also provided the FBI

Special Agent with a screenshot that he/she had found online, which he/she believed was a

screenshot of the video he/she watched on MARTIN’s Facebook account (see Image 3 below).


                                         Image 3
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         14.   An FBI Special Agent also interviewed W-3, who indicated that he/she was

familiar with what MARTIN looks like, having seen MARTIN in a neighboring community. W-

3 indicated that he/she had seen a portion of a video livestreamed on Facebook, which he/she

believed showed MARTIN in the U.S. Capitol building during the riots. W-3 was shown Image 2

and agreed it appeared to be from the video he/she had seen.

         15.   An FBI Special Agent interviewed W-4, who indicated that he/she had met

MARTIN in person and was friends with MARTIN on Facebook. W-4 told the agent that he/she

had spoken with MARTIN at a bar in Springfield, Missouri during the week leading up to

January 6, 2021. During the conversation, MARTIN told W-4 that he was going to travel to

Washington, D.C. W-4 told the agent that he/she saw a livestream video on MARTIN’s

Facebook account showing MARTIN walking through the U.S. Capitol building during the riots

on January 6, 2021. W-4 was shown Image 2 and agreed it appeared to be from the video W-4

had seen on Facebook. W-4 was also shown Image 1 and confirmed that it matched MARTIN’s

Facebook profile, which W-4 believed had uploaded the video.

         16.   An FBI Special Agent interviewed W-5, who indicated that he/she had known

MARTIN personally for several years. W-5 told the agent that he/she saw a livestream video on

Facebook showing MARTIN in the U.S. Capitol building during the riots on January 6, 2021.

W-5 also provided a phone number for MARTIN: XXX-XXX-4394. On or about January 16,

2021, the agent called that number and the voicemail indicated that the owner of the number was

“Zac.”

         17.   FBI investigation to date indicates that MARTIN’s Facebook account was likely

closed after January 6, 2021. On or about January 13, 2021, an FBI employee accessed Facebook

but was unable to find an active account belonging to MARTIN. However, the FBI employee
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observed and took screenshots of public conversations between other Facebook users discussing

MARTIN and his livestream video. One of these conversations claimed to provide a link to the

video. While the link was no longer active by the time the FBI attempted to access it, based on

my training and experience, I recognized that it included a specific Facebook User Identification

(“UID”) number.

       18.    Records from Facebook confirmed that the above-referenced Facebook UID was

registered using the vanity name “Zac Martin,” was associated with the phone number XXX-

XXX-4394, and was closed on or about January 10, 2021 at 01:46:48 UTC.

       19.    On or about January 12, 2021, FBI personnel searched the Missouri Department

of Revenue database for MARTIN’s driver’s license photograph. I believe the photograph they

located for MARTIN is of the same person shown in the screenshots provided by the witnesses.

       20.    On or about January 17, 2021, an FBI Special Agent conducted a Google Image

search to attempt to identify the picture behind MARTIN in Images 2 and 3. This Google search

revealed a photo attributed to The New York Times, which shows a painting of former New

York Congresswoman Shirley Chisholm located inside the U.S. Capitol building (see Image 4

below).
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                                         Image 4




I have reviewed the photo and its corresponding article in The New York Times, “Capitol

Portraits, a Perk of Access, Become a Symbol of Excess Instead,” published February 5, 2016,

which highlighted the painting of Congresswoman Chisholm as one of several portraits inside

the U.S. Capitol building. The painting in the photo is consistent with the image behind

MARTIN in Images 2 and 3.

                                     CONCLUSION

       21.    Based on the foregoing, I submit that there is probable cause to believe that

ZACHARY HAYES MARTIN violated 18 U.S.C. § 1752(a)(1) and (2) and               40 U.S.C. §

5104(e)(2)(D) and (G).
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                                                   Respectfully submitted,




                                                   Special Agent, FBI Washington Field Office




Sworn to via telephone after submission by reliable electronic means, Fed. R. Crim. P. 3, 4(d),
                      I
and 4.1, on this 21 st, day of January 2021.
                              2021.01.21
                              20:29:55 -05'00'
       ZIA M. FARlJQUI
       UNITED STATES MAGISTRATE JUDGE
